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                                                                   December 30, 2019
 VIA ELECTRONIC FILING
 Honorable Mark Falk, U.S.M.J.
 U.S. District Court for the District of New Jersey
 Martin Luther King Jr. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

         RE:      Immunex Corporation, et al. v. Sandoz Inc., et al.,
                  Civil Action No. 16-1118 (CCC/MF)

 Dear Judge Falk:

           This firm, together with Sidley Austin LLP, represents Plaintiffs Immunex Corporation and Amgen
 Manufacturing, Limited (collectively, “Immunex”), in connection with the above-referenced matter. In
 accordance with Local Civil Rule 101.1(c)(5), Immunex respectfully requests that the Court grant the
 withdrawal of the pro hac vice admission on behalf of Immunex of David T. Pritikin of the law firm Sidley
 Austin LLP and remove him from electronic notifications in the above-referenced matter. Sadly, Mr.
 Pritikin is retiring. Immunex will continue to be represented by Walsh Pizzi O’Reilly Falanga LLP and Sidley
 Austin LLP and Liza M. Walsh has been duly and properly designated by the Court as the “lead attorney to
 be noticed” on behalf of Immunex for purposes of the Electronic Filing System.

         We thank the Court for its consideration of this matter. If this request is granted, Immunex
 respectfully requests that the Court “So Order” this letter below and forward the same to the Clerk for
 entry.

                                                            Respectfully submitted,
                                                            s/ Liza M. Walsh
                                                            Liza M. Walsh

 cc:       All Counsel of Record (via ECF and email)

 SO ORDERED this ____ day of __________, _____


 _________________________________________
        Honorable Mark Falk, U.S.M.J.
